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                                             UNPUBLISHED

                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT


                                               No. 22-1160


        VALERIE ARROYO; DEREK OLIVARIA,

                             Plaintiffs - Appellants,

                      v.

        SOUTHWOOD REALTY COMPANY, in its official capacity; DAN W.
        RATCHFORD, in his official and personal capacities; HERMAN RATCHFORD,
        JR., in his official and personal capacities; TRIANGLE CLOISTER OF CONCORD,
        d/b/a Cloister of Concord, Inc., in its official capacity; LUZ GORDON, in her official
        and personal capacities; JARED M. SCHMIDT, in his official and personal
        capacities; LOEBSACK & BROWNLEE, PLLC, in its official capacity;
        CHRISTOPHER M. VANN, in his official and personal capacities; VANN LAW
        FIRM, PA, in its personal and official capacities; MAGISTRATE COLLEEN P.
        BROOME, in her official and personal capacities; CABARRUS COUNTY
        DISTRICT COURT OF THE ADMINISTRATION, in its official and personal
        capacities; PATRICIA R. HOSKIN, in her official and personal capacities;
        ELIZABETH THOMAS, in her official and personal capacities; PATRICK A.
        JOHNSON, in his official and personal capacities; BROWNLEE, WHITLOW &
        PRAET, PLLC, in its official capacity; NORTH CAROLINA STATE BAR, in its
        official capacity; MAGISTRATE SHAWN MORRIS, in his personal and official
        capacities; CITY OF CONCORD, in its official capacity; CABARRUS COUNTY
        BOARD OF COMMISSIONERS, in its official capacity; CITY COUNCIL OF
        CONCORD BOARD, in its official capacity; NORTH CAROLINA INDUSTRIAL
        COMMISSION, in its official capacity; NORTH CAROLINA STATE ATTORNEY
        GENERAL’S OFFICE, in its official capacity; ATTORNEY GENERAL JOSHUA
        STEIN, in his official and personal capacities; DEPARTMENT OF JUSTICE, in its
        official capacity; CABARRUS COUNTY SUPERIOR COURT OF
        ADMINISTRATION, in its official capacity; CONCORD & KANNAPOLIS
        INDEPENDENT TRIBUNE, in its official capacity,

                             Defendants - Appellees.




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        Appeal from the United States District Court for the Middle District of North Carolina, at
        Greensboro. Catherine C. Eagles, District Judge. (1:21-cv-00219-CCE-JEP)


        Submitted: June 23, 2022                                          Decided: June 27, 2022


        Before WYNN and QUATTLEBAUM, Circuit Judges, and FLOYD, Senior Circuit Judge.


        Affirmed by unpublished per curiam opinion.


        Valerie Arroyo, Derek Olivaria, Appellants Pro Se.


        Unpublished opinions are not binding precedent in this circuit.




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        PER CURIAM:

               Valerie Arroyo and Derek Olivaria appeal the district court’s orders accepting the

        recommendation of the magistrate judge and dismissing Arroyo’s and Olivaria’s 42 U.S.C.

        § 1983 complaint under 28 U.S.C. § 1915(e)(2)(B) and denying reconsideration. We have

        reviewed the record and find no reversible error. Accordingly, we affirm the district court’s

        orders. Arroyo v. Southwood Realty Co., No. 1:21-cv-00219-CCE-JEP (M.D.N.C. July 30,

        2021 & Aug. 20, 2021). We deny the motion to transfer. We dispense with oral argument

        because the facts and legal contentions are adequately presented in the materials before this

        court and argument would not aid the decisional process.

                                                                                        AFFIRMED




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